Case 2:14-cv-00435-MBC Document 1-2 Filed 04/03/14 Page 1 of 19

EXHIBIT A
Case 2:14-cv-00435-MBC Document 1-2 Filed 04/03/14 Page 2 of 19

IN THE COURT OF COIMIMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA

Stewart N. Abramson )
Plaintiff )
) CIVIL DIVISION
Vv. } ARBITRATION DOCKET
) No, AR-14-001026
Caribbean Cruise Line, Inc. )
Plaza Resorts, Inc. )
Defendants )

PLAINTIFE’S ORIGINAL. COMPLAINT

The Facts Related to this Case:

1,

At all times material, Plaintiff Stewart N. Abramson (hereinafter referred to as
Plaintiff and/or Abramson) was and is an individual residing in Allegheny County,
Pennsylvania at 522 Glen Arden Drive, Pittsburgh, PA 15208.

At all times material, Defendant Caribbean Cruise Line, Inc. (hereinafter referred to
as Defendant and/or Caribbean Cruise Line) was registered with the Florida
Department of State, Division of Corporations (Document Number P08000050872,
EIN Number XX-XXXXXXX). The principal address was listed as 5100 North State
Road 7, Fort Lauderdale, FL 33319, The mailing address was listed as 2419 East
Commercial Boulevard, Suite 100, Fort Lauderdale, FL 33308, and the registered
agent for service of process was listed as Corporation Service Company, 1201 Hays
Street, Tallahassee, FL 32301.

At all times material, Defendant Plaza Resorts, Inc, (hereinafter referred to as
Defendant and/or Plaza Resorts) was registered with the Florida Department of
State, Division of Corporations (Document Number P98000068857, EIN Number 65-
0855724). The principal address and mailing address were both listed as 2419 East
Commercial Boulevard, Suite 100, Fort Lauderdale, FL 33308, and the Registered
Agent for Service of Process was listed as Greenspoon Marder, 100 West Cypress
Creek Road, Suite 700, Fort Lauderdale, FL 33309.

At all times material, Defendants Caribbean Cruise Line and Plaza Resorts both did

business using the Internet web sites www.caribbeancl.com, www.isonvacation.com,
and www.bestcruisegetaway.com.

At all times material, Defendants Caribbean Cruise Line and Plaza Resorts bath did
business using the telephone numbers 412-397-8804, 800-221-8200, 888-376-0714,
and 800-237-3503.
Case 2:14-cv-00435-MBC Document 1-2 Filed 04/03/14 Page 3 of 19

At all times material, Defendants Caribbean Cruise Line and Plaza Resorts were not
registered as telemarketers in the State of Pennsylvania.

At all times material, Defendant Caribbean Cruise Line was registered to sell travel
with the State of Florida (Seller of Travel Registration Number ST-37425), with the
State of California (CST Registration Number 20951 14-50), with the State of Indiana
(Registration Number T,S. 09-1001), and with the State of Nevada (Seller of Travel
Registration Number 2400-0047),

The Defendants have been sued previously several times in various Federal District
Courts, and in the Court of Common Pleas of Allegheny County, for violations of the
Telephone Consumer Protection Act (TCPA), including for initiating telemarketing

calls that deliver prerecorded messages, such as is alleged in this instant complaint.

On 2/3/14, at approximately 1:04 PM, Plaintiff received a telephone call on his
residential home telephone line from the caller (ID number 412-397-8804 (hereinafter
referred to as CALL 1). Plaintiff picked up his telephane on the first or second ring,
and said “Hello”. The caller did not respond to Plaintiff's greeting. Instead, the caller
hung up on Plaintiff,

10.On 2/3/14, at approximately 1:18 PM, Plaintiff received a telephone call on his

11.

residential home telephone line from the caller ID number 412-397-8804 (hereinafter
referred to as CALL. 2). Plaintiff picked up his telephone on the first or second ring,
and said “Hello”. In response to his greeting Plaintiff heard a female voice say: “Hi,
this is Jennifer with Caribbean Cruise Line, can you hear me OK?” Plaintiff
responded to the question, but it quickly became clear to Plaintiff that he was not
actually talking with a live person. Instead, it was abundantly clear to Plaintiff that he
was interacting with an attended, or possibly even unattended, prerecorded

message delivery system. Plaintiff asked the caller to repeat her name, but in
response the caller hung up on Plaintiff.

On 2/3/14 Plaintiff called the CID number 412-397-8804 and again heard the same
prerecorded message say: “Hi, this is Jennifer with Caribbean Cruise Line, can you
hear me OK?" Plaintiff interacted with the attended or unattended prerecorded
message delivery system until he was finally connected to a real live person who
said her name was Bridgette. Bridgette informed Plaintiff that she worked for
Caribbean Cruise line and that her direct telephone number was 888-376-0714,
x5575. Plaintiff was transferred to other agents who gave their names as Dan and
Robert, and each of them also informed Plaintiff that they worked for Caribbean
Cruise Line. Plaintiff purchased the travel services that the telemarketing agents
were selling. Robert informed Plaintiff that their customer service number was 800-
221-8200, that the reservation number for his order was GP020314-087-JNZ, and
that he could log into www.isonvacation.com using GP020314-087 and 92029.
Plaintiff's credit card was subsequently charged by Defendant Plaza Resorts for the
travel services that he had ordered.
Case 2:14-cv-00435-MBC Document 1-2 Filed 04/03/14 Page 4 of 19

The Law Related to this Case:

 

12. The Telephone Consumer Protection Act of 1991 (47 USC 227), and the Federal
Communication Commission’s (FCC's) rules promulgated under that Act (47 CFR
64.1200, 64.1601, and 68.318), are hereinafter referred to collectively as the TCPA.

13. The TCPA is a Federal Act of Congress that provides individuals with a private right
of action in their State Courts. The Court of Common Pleas of Allegheny County is
an appropriate State Court to hear a cause of action brought under the TCPA
(Abramson v. Aegis Ins. Agency, Inc., 153 P.L.J. 174, 2005 TCPA Rep. 1362, 2005
WL. 5088151).

14. It is the initiation of telephone calls for the furtherance of a business purpose without
consent that constitutes a violation of the TCPA, and the Commonwealth of
Pennsylvania retains personal jurisdiction over Defendants located in foreign States
even if those Defendants are alleged to have directed only a single telephone
solicitation or unsolicited advertisement into Pennsylvania in violation of the TCPA
(Abramson v. Perfekt Marketing, 2007 TCPA Rep. 1547; Abramson v. Royaity
Holidays, 2006 TCPA Rep. 1447, AR-05-008412, C.P. Allegheny County, PA,
Memorandum Order, Judge Wettick, Apri! 4, 2006).

15. Plaintiff intends to serve Defendants located outside the Commonwealth of
Pennsylvania by certified mail, return receipt requested, pursuant to Pa. R.C.P. 402,
403, 404, 405, and 424 (Abramson v, Satellite Systems Network, AR-05-001510,
Memorandum Order, Judge Wettick, April 15, 2005; Reichert v. TRW, 385 Pa.
Super, 416, 561 A.2d. 745 (1989), reviewed on other grounds, 531 pa. 193, 614
A.2d. 1191 (1992); Goodrich-Amram, Standard Pennsylvania Practice, 2d, sections
403:1, 404(2):1, and 424:4 (2001)).

16. The FCC’s rules at 47 CFR 64.1200(a)(3), 47 CFR 64.1200(b)(1) and 47 CFR
64,1200(b)(2) were promulgated under 47 USC 227(b).

17. The FCC’s rules at 47 CFR 64.1200(a)(3) state that:

{a) No person or entity may:

(3) Initiate any telephone call to any residential line using an artificial or prerecorded
voice to deliver a message without the prior express written consent of the called
party, unless the call:

{i} is made for emergency purposes,

(ii} is not made for a commercial purpose,

(ili) ls made for a commercial purpose but does not include or introduce an
unsolicited advertisement or constitute telemarketing,

(iv) [s made by or on behalf of a tax-exempt nonprofit organization, or

(v) Delivers a “health care” message made by, or on behalf of, a “covered entity” or
its “business associate,” as those terms are defined in the HIPAA Privacy Rule,
45 CFR 160.103.
Case 2:14-cv-00435-MBC Document 1-2 Filed 04/03/14 Page 5 of 19

18. The FCC’s rules at 47 CFR 64.1200(b)(1) and 47 CFR 64.1200(b)(2) state that:

(b) All artificial or prerecorded voice telephone messages shall:

(1) At the beginning of the message, state clearly the identity of the business, Individual,
or other entity that is responsible for initiating the call. If a business is responsible for
initiating the call, the name under which the entity is registered to conduct business
with the State Corporation Commission (or comparable regulatory authority) must be
stated;

(2) During or after the message, state clearly the telephone number (other than that of
the autodialer or prerecorded message player that placed the call) of such business,
other entity, or individual. The telephone number provided may not be a 900 number
or any other number for which charges exceed local or long distance transmission
charges. For telemarketing messages to residential telephone subscribers, such
telephone number must permit any individual to make a do-not-call request during
regular business hours for the duration of the telemarketing campaign;

19. The TCPA provides a private right of action at 47 USC 227(b)(3) for violations of 47
CFR 64.1200(a)(3), 47 CFR 64.1200(b)(1) and 47 CFR 64.1200(b)(2) which states
that:

A person or entity may, if otherwise permitted by the laws or rules of court of a State, bring
in an appropriate court of that State--
(A) an action based on a violation of this subsection or the regulations prescribed under
this subsection to enjoin such violation,
(B) an action to recover for actual monetary loss from such a violation, of to receive
$500 in damages for each such violation, whichever is greater, or
(C) both such actions.
if the court finds that the defendant willfully or knowingly violated this subsection or the
regulations prescribed under this subsection, the court may, in its discretion, increase the
amount of the award to an amount equal to not more than 3 times the amount available
under subparagraph (B) of this paragraph.

20. The term “willful” is defined at 47 USC 312(f)(1) as:

“The conscious and deliberate commission or omission of [an] act, irrespective of any
intent to violate any provision of this Act or any rule or regulation of the Commission
authorized by this Act.”

Prayer for Relief:

21.Plaintiff alleges that Defendants Caribbean Cruise Line, Plaza Resorts and/or an
employee, agent, or affiliate acting on their behalf, initiated and/or made CALL 1 and
CALL 2 to Plaintiff's residential telephone line.

22, Plaintiff alleges that CALL 1 and CALL 2 were made for a commercial purpose, and
that they included or introduced an unsolicited advertisement or constituted
telemarketing.
Case 2:14-cv-00435-MBC Document 1-2 Filed 04/03/14 Page 6 of 19

23. Plaintiff alleges that CALL 1 and CALL 2 delivered prerecorded messages to
Plaintiff's residential telephone line using a prerecorded voice without Plaintiff's prior
express consent, in violation of 47 CFR 64.1200(a)(3).

24. Plaintiff alleges that CALL 1 and CALL 2 delivered a prerecorded message without
providing any identification about the caller, in violation of 47 CFR 64.1200(b)(1).

25. Plaintiff alleges that CALL 1 and CALL 2 delivered a prerecorded message without
providing a telephone number for the caller, in violation of 47 CFR 64.1200(b){2).

26, Pursuant to 47 USC 227(b)(3), Plaintiff hereby requests that the court award the
minimum mandatory statutory damages of $1,000.00 from Defendants Caribbean
Cruise Line and Plaza Resorts for two separate violations of 47 CFR 64.1200(a)(3).

2/.Pursuant to 47 USC 227(b)(3), Plaintiff hereby requests that the court award the
minimum mandatory statutory damages of $1,000.00 from Defendants Caribbean
Cruise Line and Plaza Resorts for two separate violations of 47 CFR 64.1200(b)(1).

28.Pursuant to 47 USC 227(b)(3), Plaintiff hereby requests that the court award the
minimum mandatory statutory damages of $1,000.00 from Defendants Caribbean
Cruise Line and Plaza Resorts for two separate violations of 47 CFR 64.1200(b)(2).

29. Plaintiff alleges that the actions and omissions of Defendants Caribbean Cruise Line
and Plaza Resorts were conscious and deliberate, and that they violated 47 CFR
64.1200(a)(3), 47 CFR 64.1200(b)(1), and 47 CFR 64,1200(b)(2) of the TCPA
willfully.

30.Pursuant to 47 USC 227(b)(3), Plaintiff hereby requests that the court treble the
requested minimum mandatory statutory damages of $3,000.00 to the maximum
statutory damages allowed by law of $9,000.00.

WHEREFORE, Plaintiff requests judgment in his favor, and against Defendants
Caribbean Cruise Line Inc. and Plaza Resorts Inc., jointly and severally for $9,000.00
plus all reasonabie court costs and attorney’s fees.

e-filed: Stewart Abramson 2/28/14
Stewart N. Abramson, Plaintiff Date
Case 2:14-cv-00435-MBC Document 1-2 Filed 04/03/14 Page 7 of 19

IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA

Stewart N, Abramson
Plaintiff

CIVIL DIVISION

ARBITRATION DOCKET

No, AR-14-001026

Vv.

Caribbean Cruise Line, Inc.
Plaza Resorts, Inc.
Defendants

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VERIFICATION

Plaintiff Stewart N. Abramson verifies, pursuant to 18 Pa. C.S, Section 4904, that the
facts set forth in the foregoing Plaintiff's Original Complaint are true and correct to the
best of his knowledge, information and belief,

e-filed: Stewart Abramson 2/28/14
Stewart N. Abramson, Plaintiff Date
Case 2:14-cv-00435-MBC Document 1-2 Filed 04/03/14 Page 8 of 19

IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA

Stewart N. Abramson
Plaintiff

Vv.
Caribbean Cruise Line, Inc.

Plaza Resorts, Inc.
Defendants

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CIVIL DIVISION
ARBITRATION DOCKET
No. AR-14-001026

TYPE OF PLEADING:
Important 10 Day Notice of
Intent to File Praecipe to
Enter Judgment by Default

FILED BY:
Stewart N. Abramson
Plaintiff

Counsel of Record:
Stewart N. Abramson, Pro Se

ADDRESS:

522 Glen Arden Drive
Pittsburgh, PA 15208
412-362-4233 (voice)
412-362-7668 (fax)
Case 2:14-cv-00435-MBC Document 1-2 Filed 04/03/14 Page 9 of 19

IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA

Stewart N. Abramson
Plaintiff

CIVIL DIVISION

ARBITRATION DOCKET

No. AR-14-001026

V.

Caribbean Cruise Line, Inc.
Plaza Resorts, Inc.
Defendants

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IMPORTANT 10 DAY NOTICE, PURSUANT TO RULE 237.1(a)(2),
OF INTENT TO FILE PRAECIPE TO ENTER JUDGMENT BY DEFAULT

IMPORTANT NOTICE

YOU ARE IN DEFAULT BECAUSE YOU HAVE FAILED TO ENTER A WRITTEN
APPEARANCE PERSONALLY OR BY ATTORNEY AND FILE IN WRITING WITH
THE COURT YOUR DEFENSES OR OBJECTIONS TO THE CLAIMS SET FORTH
AGAINST YOU. UNLESS YOU ACT WITHIN TEN DAYS FROM THE DATE OF THIS
NOTICE, A JUDGMENT MAY BE ENTERED AGAINST YOU WITHOUT A HEARING
AND YOU MAY LOSE YOUR PROPERTY OR OTHER IMPORTANT RIGHTS. YOU
SHOULD TAKE THIS NOTICE TO ALAWYER AT ONCE, IF YOU DO NOT HAVE A
LAWYER OR CANNOT AFFORD ONE, GO TO OR TELEPHONE THE FOLLOWING
OFFICE TO FIND OUT WHERE YOU CAN GET LEGAL HELP:

LAWYER REFERRAL SERVICE
The Allegheny County Bar Association
920 City-County Building
Pittsburgh, PA 15219
Telephone: (412) 261-5555
Case 2:14-cv-00435-MBC Document 1-2 Filed 04/03/14 Page 10 of 19

IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA

Stewart N. Abramson
Plaintiff

CIVIL DIVISION

ARBITRATION DOCKET

No. AR-14-001026

Vv.

Caribbean Cruise Line, Inc.
Plaza Resorts, Inc.
Defendants

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CERTIFICATE OF SERVICE

Plaintiff hereby verifies, Pursuant to 18 Pa C.S. Section 4904, that a true and correct
copy of the forgoing Important 10 Day Notice of Intent to File Praecipe to Enter
Judgment by Default was served by regular United States Postal Service mail on

3/31/14 to the Defendants Caribbean Cruise Line, Inc. and Plaza Resorts, Inc.
at the following addresses:

Plaza Resorts, Inc.

Caribbean Cruise Line, Inc.

2419 East Commercial Boulevard, Suite 100
Fort Lauderdale, FL 33308

Plaza Resorts, Inc.

c/o Greenspoon Marder

100 West Cypress Creek Road, Suite 700
Fort Lauderdale, FL 33309

Caribbean Cruise Line, Inc.

c/o Corporation Service Company
1201 Hays Street

Tallahassee, FL 32301

Plaza Resorts, Inc.

Caribbean Cruise Line, Inc.

c/o Eric Feld, Esq.

Greenspoon Marder, P.A.

200 East Broward Blvd., Suite 1500
Ft. Lauderdale, FL 33301

e-filed: Stewart Abramson 3/31/14
Stewart N. Abramson, Plaintiff Date
Case 2:14-cv-00435-MBC Document 1-2 Filed 04/03/14 Page 11 of 19

IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA

Stewart N. Abramson
Plaintiff

Vv.
Caribbean Cruise Line, Inc.

Plaza Resorts, Inc.
Defendants

Nee ee ee ee ee et ee

CIVIL DIVISION
ARBITRATION DOCKET
No. AR-14-001026

TYPE OF PLEADING:
Verification of Service

FILED BY:
Stewart N. Abramson
Plaintiff

Counsel of Record:
Stewart N. Abramson, Pro Se

ADDRESS:

522 Glen Arden Drive
Pittsburgh, PA 15208
412-362-4233 (voice)
412-362-7668 (fax)
Case 2:14-cv-00435-MBC Document 1-2 Filed 04/03/14 Page 12 of 19

IN THE COURT OF COMIMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA

Stewart N. Abramson
Plaintiff

CIVIL DIVISION

ARBITRATION DOCKET

No. AR-14-001026

V.

Caribbean Cruise Line, Inc.
Plaza Resorts, Inc.
Defendants

Nee ee ee ee ee ee ee

VERIFICATION OF SERVICE

Based upon his knowledge, and from personal examination of the attached documents,
Plaintiff hereby verifies pursuant to 18 Pa. C.S. Section 4904 that:

On 3/4/14 at 9:49 AM Defendant Caribbean Cruise Line, Inc. was served care of
Corporation Service Company at 1201 Hays Street, Tallahassee, FL 32301 by the
United States Postal Service (certified mail and return receipt requested) with a copy of
the previously filed Plaintiff's Original Complaint AR-14-001026 including a Notice of
Suit.

On 3/4/14 at 10:39 AM Defendant Caribbean Cruise Line, Inc. and Defendant Plaza
Resorts Inc. were both served at 2419 East Commercial Boulevard, Suite 100, Fort
Lauderdale, FL 33308 by the United States Postal Service (certified mail and return
receipt requested) with a copy of the previously filed Plaintiff's Original Complaint AR-
14-001026 including a Notice of Suit.

On 3/4/14 at 12:58 PM Defendant Plaza Resorts, Inc. was served care of Greenspoon
Marder at 100 West Cypress Creek Road, Suite 700, Fort Lauderdale, FL 33309 by the
United States Postal Service (certified mail and return receipt requested) with a copy of
the previously filed Plaintiff's Original Complaint AR-14-001026 including a Notice of
Suit.

e-filed: Stewart Abramson 3/31/14
Stewart N. Abramson, Plaintiff Date
Case 2:14-cv-00435-MBC Document 1-2 Filed 04/03/14 Page 13 of 19

IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA

Stewart N. Abramson
Plaintiff

CIVIL DIVISION

ARBITRATION DOCKET

No. AR-14-001026

V.

Caribbean Cruise Line, Inc.
Plaza Resorts, Inc.
Defendants

Nee ee ee ee ee ee ee

CERTIFICATE OF SERVICE

Plaintiff hereby verifies, Pursuant to 18 Pa C.S. Section 4904, that a true and correct
copy of the forgoing Verification of Service was served by regular United States Postal
Service mail on 3/31/14 to the Defendants Caribbean Cruise Line, Inc. and
Plaza Resorts, Inc. at the following addresses:

Plaza Resorts, Inc.

Caribbean Cruise Line, Inc.

2419 East Commercial Boulevard, Suite 100
Fort Lauderdale, FL 33308

Plaza Resorts, Inc.

c/o Greenspoon Marder

100 West Cypress Creek Road, Suite 700
Fort Lauderdale, FL 33309

Caribbean Cruise Line, Inc.

c/o Corporation Service Company
1201 Hays Street

Tallahassee, FL 32301

Plaza Resorts, Inc.

Caribbean Cruise Line, Inc.

c/o Eric Feld, Esq.

Greenspoon Marder, P.A.

200 East Broward Blvd., Suite 1500
Ft. Lauderdale, FL 33301

e-filed: Stewart Abramson 3/31/14
Stewart N. Abramson, Plaintiff Date
Case 2:14-cv-00435-MBC Document 1-2

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March 3, 2014 Facility

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March 1, 2014 , 6:46 pm Facility

March 1, 2014, 14:21 am Acceptance

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Case 2:14-cv-00435-MBC Document 1-2 Filed 04/03/14 Page 16 of 19
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Case 2:14-cv-00435-MBC Document 1-2 Filed 04/03/14 Page 17 of 19

 

 

    

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t@ Complete Items 1, 2, and 3. Also complete
item 4 if Restricted Delivery Is desired.

fa Print your name and address on the reverse
so that we can return the card to you,

f@ Attach this card to the back of the mailpiece,
or on the front if space permits.

1. Article Addressed to:

 

 

B, Receive (Printed Namgy” f ¥
a) a A Li gt

D. Is delivery address diferent from item ¥?.. oO Yes
1 YES, enter delivery address below:  EINo

  
    

 

 

 

Plaza Resorts, Inc.
Caribbean Cruise Line, Inc.
2419 East Commercial Boulevard, Suite 100

Fort Lauderdale, FL 33308 dail? [1 Priority Mall Express™
tot Vieyiomied ( Return Receipt for Merchandise,

CJ Insured Malt, —_ 2] Collect on Delivery
4. Restricted Delivery? (Extra Fee) CI Yes

 

 

 

2. Article Number
(Transfer from service label) 4

PS Form 3811, July 2013 Domestic Return Receipt
Case 2:14-cv-00435-MBC
USPS.com® - USPS Tracking™

Document 1-2 Filed 04/03/14 Page 18 of 19
Page 1 of 2

és Register? Sign ta a

“ar English ~ — &y Customer Service fil USPS Mobile

Seach USPS com at Trace Packayes

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ri

“USPS. Tracking™

Cisatepy of Adnees

f | Customer Service >
i : Have questions? Wo're here to help,

   

tracking Nuwiber: 704216400001 13778144

 

Expected Delivery Day: Tuesday, March 4, 2014

Available Actions

 

Product & ‘king Information
Features: .

Postal Product:
Certified Mail” Return Receipt Email Updales &

Priority Mail 2-Day”

 

FORT
LAUDERDALE, FL 33309

March 4, 2014, 12:68 pm Oslivered t

March 4, 2014, 7:17 am Out for Delivery FORT LAUDERDALE, FL 33310

March 4, 2014, 7 Of am Sorting Complete FORT LAUDERDALE, FL 33310

March 4, 2014 , 5°04 am Arrival at Unit FORT LAUDERDALE, FL 33310

Depart USPS Sort

Facility OPA LOCKA, FL 33054

March 4, 2014

Processed through

USPS Sort Facility OPA LOCKA, FL 33054

March 3, 2014, 7:28 pm

Depart USPS Sort

Facility WARRENDALE, PA 16086

March 2, 2014

Processed at USPS

Origin Sort Facility WARRENDALE, PA 15085

March 1, 2014, 7:51pm

Dispatched to Sort

Facility PITTSBURGH, PA 15217

March 1, 2014, 6.46 pm

PITTSBURGH, PA 15217

March 1, 2014, 44:22 am Acceptance

Track Another Package
What's your tracking (or receipt) number?

; Track It
i .

LEGAL

 

BaIUSPSCOM

hitps://tools.usps.com/go/TrackContirmAction.action?tRef=fullpage&tLo= 1 &text2877 78... 3/4/2014

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Case 2:14-cv-00435-MBC Document 1-2 Filed 04/03/14 Page 19 of 19

 

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(Endorsement Mequired)

 

 

 

 

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(Frdorsement Required)

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ar PO Box Wo, loo W. Wi dope Creek Rol 700.
, edale, Fl. 333

 

   
 

 

 
  

Complete items 1, 2, and 3. Also cornplete

item 4 if Restricted Delivery is desired.

@ Print your name and address on the reverse
so that we can return the card to you.

Attach this card to the back of the mailpiece,

or on the front if space permits.

 

1. Article Addressed to:

Plaza Resorts, Inc,
c/o Greenspoon Marder

 

A. Sigffature

  

7 x Fa Cr} lo e@4-2 Agent

OI Addressee

 

 

pos ens 0s c. 3K if”

 

 

D, ‘Is delivery cH different from Item
lf YES, enter delivery address below:

TT” 10 ‘ps
C1 No

 

 

. . ‘Type
100 West Cypress Creek Road, Suite 700 ied Mall? C1 Priority Mall Express™

stered C1 Return Receipt for Merchandise
uuiinsured Mail [1 Collect on Delivery

Fort Lauderdale, FL 33309

 

4, Restricted Delivery? (Extra Fee)

CI Yes

 

2 ile Name 7022 Lb4O 0002 2327 BL4a

(Transfer from service label)

PS Form 3811, July 20713 Domestic Return Recelpt
